

People v Alsadi (2017 NY Slip Op 02946)





People v Alsadi


2017 NY Slip Op 02946


Decided on April 18, 2017


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 18, 2017

Friedman, J.P., Renwick, Moskowitz, Feinman, Kapnick, JJ.


3763 694/15

[*1]The People of the State of New York, Respondent,
vMugded Alsadi, Defendant-Appellant.


Seymour W. James, Jr., The Legal Aid Society, New York (Paul Wiener of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Ronald Zweibel, J.), rendered October 15, 2015,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
ENTERED: APRIL 18, 2017
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








